         Case 2:24-cv-09367-SVW-SHK                      Document 7            Filed 12/27/24          Page 1 of 1 Page ID
                                                              #:63



                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA

ALFREDO GARIBAY                                                           CASE NUMBER

                                                        PLAINTIFF(S)                        2:24-cv-09367-SVW-SHK
                                  v.
FCI LOMPOC, II
                                                                                       NOTICE OF CLERICAL ERROR
                                                       DEFENDANT(S)


You are hereby notified that due to a clerical error          documents associated with the filing of the new action
    the following scanned document             docket entry have/has been corrected as indicated below.
Title of scanned document: Initial Civil Rights Case Order
Filed date:           December 27, 2024                Document Number(s): 6
    Incorrect case number                                          was assigned to this       action      document
    Case number has been corrected. The correct case number is
    Incorrect judge's initials were indicated on this         action        document . The correct judge's initials are:
    Incorrect magistrate judge's initials were indicated on this              action      document . The correct magistrate judge's
     initials are:                                 .
    Case has been reassigned from             Judge       Magistrate Judge                                                        to
         Judge       Magistrate Judge                                              . The initials of the new judge(s) are:
    Case was assigned to          Western         Southern      Eastern division. Pursuant to General Order 21-01, the case
     has been reassigned to the         Western         Southern         Eastern division. The former case number
                                          has been reassigned to new case number                                             .
    Case title is corrected from                                                       to
    Document has been re-numbered as document number
    Incorrect        Filed Date        Date of Document       Date ENTERED on CM/ECF was stamped on the document.
     The correct date is                                             .
    Document is missing page number(s):
    To ensure proper routing of documents, all documents filed with the court must reflect the following case number
     and judge's initials:
    Other:     Order was issued in incorrect case. Order does not belong to this case.




                                                                           CLERK, U.S. DISTRICT COURT

Date:            December 27, 2024                                         By: D. Castellanos
                                                                               Deputy Clerk


G-11 (03/21)                                            NOTICE OF CLERICAL ERROR
